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                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                         §
                                         §
Plaintiff                                §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                         §
Versus                                   §
                                         §
REC MARINE LOGISTICS LLC, ET AL.         §   TRIAL BY JURY DEMANDED
                                         §
Defendants                               §

         MOTION TO STAY PENDING COURT DECISION ON JURISDICTION

        Now into Court through undersigned Counsel comes REC, et.

al., moving for a temporary stay of any proceedings against it,

pending the Court’s final decision on whether this litigation,

just removed from East Baton Rouge Parish Louisiana state court,

was properly removed, and/or will or will not remain in this

Federal Jurisdiction through trial, or will be returned to the

state     court    for   further      proceedings    on    the   matter,       as

proceedings pending against these defendants commenced in state

court, and if further proceedings are needed, they should be

returned to state court to be resolved according to Louisiana

State Law in a Louisiana Court, and Movers hereby move therefor;



                                      Respectfully submitted,


                                      /s/ Fred E. Salley
                                      ________________________________
                                      FRED E. SALLEY, T.A. (11665)
                                      SALLEY & ASSOCIATES
                                      77378 Hwy 1081
                                                                            EXHIBIT

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                                  Covington, LA. 70435
                                  Telephone: (985) 867-8830
                                  All Defendants


                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing has
been served on all counsel of record by depositing same in the
United States Postal Service, properly addressed and postage
prepaid this 22nd day of May 2020.


                                  ______________________________
                                       Fred E. Salley
